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Attorney for Plaintiff
UNITED STATES OF AMERICA

                 IN THE UNITED STATES DISTRICT COURT

                      FOR THE DISTRICT OF HAWAll

 UNITED STATES OF AMERICA,           )   Cr. No. 17-00101 LEK
                                     )
                   Plaintiff,        )   GOVERNMENT'S NOTICE OF
                                     )   COMPLIANCE WITH ORDER;
            v.                       )   CERTIFICATE OF SERVICE
                                     )
 ANTHONY WILLIAMS,                   )
                                     )
                  Defendant.         )
                                     )
                                     )
                                     )
_________                            )

        GOVERNMENT'S NOTICE OF COMPLIANCE WITH ORDER
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         The government respectfully submits this notice to the Court of its

compliance with the Court's Order, dated July 30, 2019 (July 30, 2019 Order).

The government has provided copies of the Court's July 30, 2019 Order to counsel

for the Bureau of Prisons and counsel for the Federal Bureau of Investigation

(FBI). As ordered by the Court, the government is attaching a declaration to this

filing that verifies its production of items in compliance with the Order.

         The undersigned attorney also gives notice to the Court that he will be out of

the office and largely unreachable between August 6 and 20, 2019, and will be

returning on August 21, 2019. To the extent that the Comi feels that any matter in

its July 30, 2019 Order has not been fully addressed, or requires follow-on

attention, the government respectfully requests sufficient time to respond after

August 21, 2019.

    I.      Forensic Images of Defendants' Electronic Devices.

         As of August 5, 2019, in compliance with the July 30, 2019 Order, the

government has produced three 3-terabyte (TB) hard drives, which contain forensic

copies of the working, accessible electronic devices that were seized from the three

co-defendants, to Defendant Anthony Williams at the Federal Detention Center,

Honolulu (FDC). 1 The FDC has indicated that it will offer an accommodation to


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  The July 30, 2019 Order directs the government to produce only the hard drive
containing forensic copies of Defendant Anthony Williams's devices. Order 3.
However, because the gove1nment had made the hard drives of the copies of all

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the defendant to permit him access to these hard drives, without the need for his

attorney to be present. The drives remain available to the other defendants to

copy.

        As the government has explained in prior filings, the forensic copies on

these hard drives were created by the FBI to facilitate the FBI' s searches of the

seized electronic devices for the documents or files described in their search

warrants. See Gov't's Resp. Df. 2d Mot. Compel 7-10, ECF No. 487; Gov't Mot.

Protective Order 2-3, ECF No. 520. Accordingly, these forensic copies of the

electronic devices contain vastly more information than the discoverable files that

agents copied pursuant to their search warrants. Moreover, the forensic copies are

not in a form that is accessible without expert technical assistance. Gov't's Resp.

Df. 2d Mot. Compel 9. Nonetheless, every party has an equal ability to retain

expert assistance to search the devices, as the July 30, 2019 Order recognizes:

              To the extent the Subject Drive contains files or data that
              require additional technical analysis to access, Defendant
              can request court approval of funds to retain the services
              necessary to analyze those files or data.

July 30, 2019 Order 3.

        The gove1nment emphasizes that it no longer has valid search warrants to

search the forensic copies again for additional files or documents. The electronic


defendants' devices available to each defendant since January 23, 2019, the
Government will produce all hard drives to Defendant Anthony Williams at FDC.

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devices from which these forensic copies were made remain subject to Rule 16

inspection by each defendant from whom a device was seized, upon request.

   II.      Outstanding Discovery: Reports of Results of
            Electronic Searches and Related Reports of Investigation

         As of August 5, 2019, the government has produced to Defendant Anthony

Williams the disks that the FBI discovered containing the reports of the results of

the its searches of the aforementioned forensic copies of seized electronic devices.

Declaration of Gregg Paris Yates (Yates Deel.) ,r 8. The discoverable files from

the forensic copies, which were copied by the FBI pursuant to search warrants,

were produced on readable Digital Video Disks (DVDs), which may be brought

within the FDC and reviewed by Defendant Anthony Williams in his housing unit.

         These disks were not immediately produced when discovered because some

were found to contain the personal and financial account information of victims

and, because the disks were being produced in their native electronic format, they

could not be readily redacted. Gov't's Mot. Prot. Order ,r,r 8-9, ECF No. 520.

Accordingly, the gove1nment moved for a protective order to govern the

production of these items on July 17, 2019. Id.    That motion is currently pending.

ECFNo. 523.

         The government interprets the Court's July 30, 2019 Order to produce

forensic copies of Defendant Anthony Williams' s electronic devices and the



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reports of results of the searches that that the FBI conducted on these forensic

copies as requiring the immediate production of discoverable items,

notwithstanding its pending protective order motion. Accordingly, we produced

the search result disks that the FBI has uncovered to all defendants on August 5,

2019.

        This said, we respectfully request that the Court enter the protective order

that the government has sought to govern this production and the hard drives

containing the forensic images of the defendants' devices as soon as possible.

   Ill.    Return of Certain Seized Items

        As of August 5, 2019, as ordered by the July 30, 2019 Order, the

government provided to Lars Isaacson, Esq., standby counsel for Defendant

Anthony Williams, seven (7) electronic devices that the FBI had seized from the

defendant, including the two Amazon devices referenced the July 30, 2019 Order,

and a CD case containing 46 CDs. Yates Deel.       ,r 11, Exh. D.
              DATED: August ~ ' 2019, at Honolulu, Hawaii.

                                               KENJIPRICE




                                                          PARIS YATES
                                                 Assistant U.S. Attorney



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                               CERTIFICATE OF SERVICE

      I certify that, on the dates and by the methods of service noted below, a true

and co1Tect copy of the foregoing was served on the following by the method

indicated on the date of filing:

Served Electronically through CM/ECF:

      Lars Isaacson, Esq.
      hawaii.defender@earthlink.net

      Stand-by Attorney for Defendant
      ANTHONY T. WILLIAMS

Served by First Class Mail:

      Anthony T. Williams
      Register No. 05963-122
      Inmate Mail
      FDC Honolulu
      PO Box 30080
      Honolulu, HI 96820

             DATED: August 5, 2019, at Honolulu, Hawaii.


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                                             U.S. Attmney's Office
                                             District of Hawaii
